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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION



  ROBERT LOUIS MEZA,
                                                   CV 20-94-BLG-SPW
                      Plaintiff,

  vs.                                               ORDER ADOPTING
                                                    MAGISTRATE'S FINDINGS
  CAPTAIN BODINE; ATTORNEY                          AND RECOMMENDATIONS
  GENERAL OF THE STATE OF
  MONTANA,

                      Defendants.




        The United States Magistrate Judge filed Findings and Recommendations on

October 16, 2020. (Doc. 4.) The Magistrate recommended that Defendant Meza's

Petition for Writ ofHabeas Corpus be dismissed without prejudice. {Id. at 5).

        Pursuant to 28 U.S.C. § 636(b)(1), parties are required to file written

objections within 14 days of the filing of the Magistrate's Findings and

Recommendations. Federal Rule of Civil Procedure 6(d) extends that period by 3

days when a party is served by mail. No objections were filed. When neither party

objects, this Court reviews the Magistrate's Findings and Recommendations for

clear error. McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc.^ 656 F.2d

1309,1313(9th Cir. 1981). Clear error exists ifthe Court is left with a "definite and
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